Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 1 of 44 PAGEID #: 1269




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

EMPLOYEES RETIREMENT SYSTEM                        :
OF THE CITY OF ST. LOUIS,                          :
                                                   : Case No. 2:20-cv-04813
               Plaintiff,                          :
                                                   : CHIEF JUDGE ALGENON L. MARBLEY
       v.                                          :
                                                   : Magistrate Judge Kimberly A. Jolson
                                                   :
CHARLES E. JONES, et al.,                          :
                                                   :
               Defendants,                         :
                                                   :
                                                   :
FIRSTENERGY CORP.,                                 :
                                                   :
               Nominal Defendant.                  :


                                       OPINION & ORDER

                                        I. INTRODUCTION

       Before the Court is a Motion to Dismiss the Consolidated Verified Shareholder Derivative

Complaint by Defendants Michael J. Anderson, Steven J. Demetriou, Julia L. Johnson, Donald T.

Misheff, Thomas N. Mitchell, James F. O’Neil III, Christopher D. Pappas, Sandra Pianalto, Luis

A. Reyes, Leslie M. Turner, Steven E. Strah, James F. Pearson, K. Jon Taylor, and Nominal

Defendant FirstEnergy Corp. (“FirstEnergy” or the “Company”) (collectively, the “FirstEnergy

Defendants” or “Defendants”). (ECF No. 79).1 For the following reasons, the Court DENIES the

Motion to Dismiss.



1
 Defendants Robert Reffner, Michael J. Dowling, Charles E. Jones, and Ebony Yeboah-Amankwah have
each joined the Motion to Dismiss and Defendants’ Reply in Support of the Motion to Dismiss. (Notices of
Joinder, ECF Nos. 81−84, 88–91).

                                                   1
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 2 of 44 PAGEID #: 1270




                                       II. BACKGROUND

                                A. Facts as Alleged by Plaintiffs

       In considering this motion to dismiss, this Court must view the Consolidated Complaint in

the light most favorable to Plaintiffs and take all well-pleaded factual allegations as true. Tackett

v. M & G Polymers, 561 F.3d 478, 488 (6th Cir. 2009).

       According to Plaintiffs, this action seeks to hold current and former FirstEnergy directors

and officers accountable for their roles in orchestrating a large bribery, racketeering, and pay-to-

play scheme with Ohio politicians. (Consol. Compl. ¶ 1, ECF No. 75). Specifically, between 2017

and 2020, FirstEnergy and its most senior officers paid more than $60 million in illegal

contributions to Ohio’s Speaker of the House, Larry Householder, and other Ohio public officials,

in exchange for favorable legislation designed to bail out the Company’s failing nuclear power

plants. (Id. ¶ 2). The U.S. Attorney for the Southern District of Ohio described this plot as “likely

the largest bribery, money laundering scheme ever perpetrated against the people of the state of

Ohio.” (Id. ¶ 7).

       FirstEnergy is an Ohio-based utility company and one of the nation’s largest investor-

owned electric systems. (Id. ¶ 49). It owns and operates two Ohio nuclear power plants and

provides electricity to 6 million customers through its ten utility operating companies, which

service seven states across the Midwest and the Mid-Atlantic. (Id.). The Company’s business

segment, known as Competitive Energy Services (“CES”), is comprised of three entities:

FirstEnergy Solutions (“FES”), FirstEnergy Nuclear Operating Co. (“FENOC”), and Allegheny

Energy Supply (“AE Supply”).

       FirstEnergy began to face significant financial strain in 2016, as its costly nuclear power

plants became less profitable. (Id. ¶ 3). The Company had invested hundreds of millions of dollars



                                                 2
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 3 of 44 PAGEID #: 1271




into the plants’ maintenance while demand for nuclear power diminished. (Id.). As a result,

FirstEnergy reported a $1.259 billion loss in its energy services segment on July 28, 2016. (Id.

¶ 53). Shortly thereafter, Moody’s and Standard & Poor’s downgraded FES’s senior unsecured

rating and its corporate credit rating to “below investment grade,” signifying that FES faced “a

substantial risk of default. . .” (Id. ¶ 54). By November 2016, the Company announced a strategic

review with the goal of exiting the competitive power generation business of FES within twelve

to eighteen months. (Id. ¶ 55). FirstEnergy director and Chief Executive Officer, Defendant Jones,

explained that FES faced several risks, including weak energy and capacity pricing, as well as an

obligation to refinance $645 million in debt through 2018. (Id.). FirstEnergy’s outside auditor

announced in February 2017 that FES’s “current financial position and the challenging market

conditions impacting liquidity raise[d] substantial doubt about its ability to continue as a going

concern.” (Id. ¶¶ 56, 77). The Federal Energy Regulatory Commission (“FERC”) rejected

FirstEnergy’s application to transfer certain assets from CES to another subsidiary in January

2018, further limiting the Company’s ability to restructure its debt or declare FES bankruptcy. (Id.

¶ 78). In other words, FirstEnergy owned a subsidiary that was causing it significant financial loss,

and it had very limited options to extricate the Company from this situation. (Id. ¶ 79).

       The Company’s financial situation also impacted each of the Officer Defendants, since

most of their compensation was based on the Company’s annual financial performance. (Id.). For

example, from 2017 to 2019, Defendant Jones’s performance-based compensation comprised 87%

of his total compensation, which exceeded $55 million cumulatively over those three years. (Id.

¶¶ 22, 81). Compensation for other officers between 2017 and 2019 was 76%, 75%, and 74%

incentive-based, respectively. (Id. ¶ 81).




                                                 3
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 4 of 44 PAGEID #: 1272




        Meanwhile, Larry Householder sought to regain his position as Ohio Speaker of the House,

which he had previously resigned from due to public allegations of money laundering, kickbacks,

and illegal campaign contributions. (Id. ¶ 57). He ran in and won the November 2016 election for

the two-year House seat representing Ohio’s 72nd District. (Id. ¶ 58). A few days after he assumed

office on January 3, 2017, FirstEnergy flew Householder to Washington, D.C. on its private jet so

that he could attend the inauguration of former President Donald Trump. (Id. ¶ 59). Soon after

taking Householder to Washington, FirstEnergy informed investors that it was seeking “legislative

solutions” to help its aging nuclear power business. (Id. ¶ 60).

        Within two months of this trip, Householder established a secret 501(c)(4) entity called

“Generation Now,” and FirstEnergy and its subsidiaries began making clandestine quarterly

payments of $250,000 to it. (Id. ¶ 63). According to Householder co-conspirator Neil Clark,2

Generation Now was structured to be opaque so that donors could “give as much or more to the

(c)(4) and nobody would ever know.” (Id.). From 2017 to 2018, Generation Now spent

approximately $3 million of FirstEnergy funds to support Householder’s bid for Speaker of the

House, as well as the bids of nearly a dozen other House-candidate allies who would ultimately

vote for his elevation to Speaker. (Id. ¶ 89). Householder was re-elected as Speaker of the House

in January 2019. (Id. ¶ 101). By July 2020, FirstEnergy and its subsidiaries paid more than $60

million to various entities controlled by Householder, including Generation Now, under the guise

of donations. (Id. ¶¶ 2, 4−6, 43, 63, 80−82, 100−02).




2
 Neil Clark is a longtime lobbyist who owns Grant Street Consultants and was previously a budget director
of the Ohio Senate Republican Caucus. (Consol. Compl. ¶ 47, ECF No. 75). Mr. Clark is listed as a member
of the “Enterprise” in the FBI Affidavit and was indicted along with Larry Householder, Republican Party
Chair-turned-consultant Matt Borges, FirstEnergy Solutions lobbyist Juan Cespedes, and Householder aide
Jeff Longstreth. (See id. ¶ 48).

                                                   4
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 5 of 44 PAGEID #: 1273




       The same day that Householder was re-elected, he pledged to create a standing

subcommittee on energy generation, which he later admitted was created to pass House Bill 6

(“HB6”). HB6 was introduced in the Ohio state legislature on April 12, 2019, and, according to

the FBI, “essentially was created to prevent the shutdown of [FirstEnergy’s] nuclear plants.” (Id.

¶¶ 100−103). As is relevant here, HB6 has three key components.

       First, it provided a bailout for the Company by creating a subsidy on each megawatt hour

produced by nuclear generators. (Id. ¶ 103). Given that FirstEnergy’s nuclear power plants

produced over 18 million megawatts in 2018 (compared to fewer than 1,100 megawatts produced

by Ohio’s six remaining solar facilities), 94% of the subsidy went to FirstEnergy. (Id.). The subsidy

also enabled FirstEnergy to collect more than $160 million annually, and it was funded by a

monthly fixed charge on all residential, commercial, and industrial consumers. (Id.).

       Second, HB6 also included a “decoupling” provision that ensured a guaranteed level of

income for FirstEnergy and therefore established a floor for Defendants’ performance-based

compensation. (Id. ¶ 82). According to the FBI Affidavit supporting the Criminal Complaint:

       Decoupling is the dissociation of annual revenue from volume of energy sales. The
       decoupling mechanism was based upon the baseline revenue the company received
       in 2018. Therefore, if a given year’s annual revenue [was] less than it was in 2018,
       the company [could] charge retail customers a rider, or surcharge, to compensate
       for the lost revenue.

(Id.). The FBI Affidavit further explains that the decoupling amendment was added to HB6 “as a

result of the successful influence campaign waged by [FirstEnergy] and the Enterprise” run by

Householder. (Id.). Defendant Jones explained during a November 4, 2019 investor call that the

decoupling provision “fixes our base revenues and essentially it takes about one-third of our

company[,] and I think makes it somewhat recession-proof.” (Id. ¶ 83). An Ohio energy consultant

estimated that the decoupling provision would allow FirstEnergy to charge ratepayers an additional


                                                 5
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 6 of 44 PAGEID #: 1274




$355 million through 2024 and guarantee the Company an annual revenue of $978 million. (Id. ¶

84).

        Third, HB6 provided that the Public Utilities Commission of Ohio (“PUCO”) could

unilaterally extend decoupling at the utility’s discretion, which would benefit FirstEnergy by an

additional $400 million from 2025 through 2030. (Id. ¶¶ 85, 144). Notably, in November 2020,

PUCO’s Chairman, Sam Randazzo, resigned two days after the FBI raided his home and the day

before FirstEnergy disclosed that it paid $4.3 million to “an individual who subsequently was

appointed to a full-time role as an Ohio government official directly involved in regulating” the

Company. (Id. ¶ 144).

        Even before charges of misconduct surfaced, the public strongly opposed House Bill 6.

The bill was criticized as “the worst energy bill of the 21st century.” (Id. ¶ 6). A statewide ballot

referendum seeking to repeal it quickly followed. (Id.). Numerous press reports publicly

questioned the propriety of FirstEnergy’s relationship with Householder, including articles by

Cleveland.com, the Columbus Dispatch, and the Cincinnati Enquirer. (Id. ¶¶ 97, 105, 113).

FirstEnergy vehemently opposed the referendum, spending $38 million over the next few months

to defeat it. (Id.).

        From Householder’s Speaker campaign through HB6’s passage and referendum survival,

multiple media outlets and watchdog groups called attention to the Company’s political spending

and the unusual relationship between FirstEnergy and Householder. Such reports highlighted the

connections between FirstEnergy, Generation Now, and other “dark money groups,” and support

for favorable Ohio legislation. (Id. ¶¶ 57−62, 97). For example, two nonprofit

research organizations dedicated to corporate accountability reported that FirstEnergy had the

second highest level of political spending relative to its revenue, but ranked only 22nd in



                                                 6
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 7 of 44 PAGEID #: 1275




transparency about its political spending. (Id. ¶ 72). Moreover, FirstEnergy executives and

Householder communicated frequently throughout the period encompassing Householder’s

campaign, the illegal payments, and HB6’s passage. (Id. ¶ 8).

       Furthermore, Plaintiffs allege that the Director Defendants were aware of shareholders’

concerns about the Company’s lobbying efforts and campaign contributions and took affirmative

steps to conceal them. (Id. ¶¶ 66−76). In 2015 and 2016, FirstEnergy shareholders issued formal

proposals at annual shareholder meetings that would require the Company to increase its

transparency and oversight over lobbying and political spending. (Id. ¶ 66). For example, the 2015

proposal stated that “shareholders [were] missing key information needed to assess our company’s

efforts to influence public policy” because the Company did not disclose “lobbying to influence”

state legislation, and that “[a]dditional disclosure [was] needed for shareholders to assess whether

lobbying expenditures are in the best interest of stockholders and long-term value.” (Id.). The

Director Defendants campaigned against the proposals each year, ultimately defeating them. (Id.).

To do so, they told shareholders in both 2015 and 2016 that “[y]our Company complies with all

federal and state lobbying registration and disclosure requirements.” (Id. ¶¶ 67−69).

       Shareholders again made a proposal to increase disclosure, transparency, and

accountability in connection with the Company’s lobbying efforts in March 2017, shortly after

FirstEnergy flew Householder to D.C. (Id. ¶¶ 70−71). They requested the Company to issue annual

reports, which would be presented to the Audit Committee and posted on FirstEnergy’s website.

(Id.). Director Defendants once more urged FirstEnergy shareholders to vote against the proposal,

representing that “[a]fter careful consideration,” the Company “complies with all federal and state

lobbying registration and disclosure requirements.” (Id. ¶ 74). This effort also failed, although 41%

of the votes cast supported the proposal. (Id. ¶ 75).



                                                  7
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 8 of 44 PAGEID #: 1276




       After the vote, the FirstEnergy Defendants solicited feedback to prevent a renewed

proposal, which culminated in the Company’s 2018 Proxy Statement. (Id. ¶ 76). There, the

Company represented that the Board “strengthened its oversight over [the Company’s] lobby

activities” in 2017 and amended the Corporate Governance Committee Charter to “clarify this

responsibility.” The Board also represented to shareholders that this Committee “maintain[ed] an

informed status with respect to the Company’s practices relating to corporate political

participation, and dues and/or contributions to industry groups and trade associations.” (Id.). In its

2019 and 2020 Proxy Statements, the Board continued to highlight that it had taken steps to

increase transparency and prevent risks such as the use of FirstEnergy funds for illicit lobbying.

(Id. ¶¶ 177−81, 197−202). Moreover, the Company represented to shareholders on annual reports

in the Form 10-Ks for 2017, 2018, and 2019 that FirstEnergy “demonstrate[d] a commitment to

integrity and ethical values” and “enforce[d] accountability.” (Id. ¶¶ 168, 189, 209). The Director

Defendants signed these forms, which included statements of cash flows and a breakdown of

Company expenses but did not disclose the millions of dollars in lobbying expenditures. (Id. ¶¶

169, 190, 210).

       The bribery scheme was exposed on July 21, 2020, when formal criminal charges were

brought against Householder and others (“Criminal Complaint”), and reports of FirstEnergy’s

involvement surfaced soon thereafter. (Id. ¶ 124). Although the U.S. Attorney noted that “no one

from the Company has of yet been charged,” he added that “there are going to be a lot of busy FBI

agents in the Southern District of Ohio . . . this is by no means over.” (Id. ¶ 129). On July 24, 2020,

Defendant Jones admitted during an analyst call that FirstEnergy had paid significant, previously

undisclosed amounts of money to Generation Now. (Id. ¶¶ 130−31). Additionally, the Company




                                                  8
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 9 of 44 PAGEID #: 1277




later admitted that its subsidiary, FES, gave $56.6 million to Generation Now in its March 10,

2021 answer in the Ohio ratepayer lawsuit.3

        The Company’s stock value fell 45% in the aftermath, eliminating approximately $12

billion of stock value. (Id. ¶ 135). The Company is currently the subject of ongoing investigations

by the U.S. Department of Justice, the Securities and Exchange Commission, the Ohio Public

Utilities Commission, and the Ohio State Attorney General. (Id. ¶¶ 123, 132−35). In addition to

its reputational damage, securities analysts estimate the Company faces between $500 million and

$1 billion in future sanctions. (Id. ¶ 150).

                                         B. Procedural History

        The first derivative action against FirstEnergy’s directors and officers was filed on August

7, 2020 in the Northern District of Ohio; the case remains in that district today.4 Subsequent actions

were filed in the Southern District of Ohio, first by Roberta Bloom and two other individuals on

September 1, 2020, and later by six additional plaintiff groups.5 These cases were determined to

be related and assigned to this Court. (ECF No. 26). On November 16, 2020, this Court

consolidated the cases; appointed Plaintiff Employees Retirement System of the City of St. Louis



3
 Smith v. FirstEnergy Corp., No. 2:20-cv-03987-EAS-KAJ (S.D. Ohio) (ECF No. 49). The Court takes
judicial notice of the Company’s answer in this case, as “such materials are public records [and] are
otherwise appropriate for the taking of judicial notice.” Mories v. Box. Sci. Corp., No. 2:18-CV-05671,
2020 WL 6060431, at *5 (S.D. Ohio Oct. 14, 2020) (quoting New Eng. Health Care Emps. Pension Fund
v. Ernst & Young, LLP, 336 F.3d 495, 501 (6th Cir. 2003)).
4
  Miller v. Anderson, No. 5:20-cv-01743 (N.D. Ohio). Plaintiffs in the Southern District derivative actions
later moved to intervene in this case, seeking to transfer it to the Southern District of Ohio. (Id., ECF No.
17). Although Ms. Miller filed a Notice of Non-Opposition to the Motion to Transfer (Id., ECF No. 19),
Defendants opposed (Id., ECF No. 20). Defendants also filed a motion to dismiss the amended complaint.
(ECF No. 21). These motions are currently pending before Judge Adams in the Northern District.
5
 Those cases include: Bloom v. Anderson, No. 2:20-cv-04534 (S.D. Ohio); Stavely v. Anderson, No. 2:20-
cv-04598 (S.D. Ohio); Emps. Ret. Sys. of the City of St. Louis v. Jones, No. 2:20-cv-04813 (S.D. Ohio);
Beck v. Anderson, No. 2:20-cv-05020 (S.D. Ohio); Elec. Workers Pension Fund, Local 103, I.B.E.W. v.
Anderson, No. 2:20-cv-05128 (S.D. Ohio); Sarnelli v. Anderson, No. 2:20-cv-05192 (S.D. Ohio); and Mass.
Laborers Pension Fund v. Jones, No. 2:20-cv-05237 (S.D. Ohio).

                                                     9
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 10 of 44 PAGEID #: 1278




 and Plaintiff Electrical Workers Pension Fund, Local 103, I.B.E.W. to serve as Co-Lead Plaintiffs;

 and appointed Saxena White P.A. and Bernstein Litowitz Berger & Grossmann LLP as Co-Lead

 Counsel and the Law Offices of John C. Camillus LLC as Liaison Counsel. (ECF No. 44).

         On January 25, 2021, Co-Lead Plaintiffs filed their Consolidated Verified Shareholder

 Derivative Complaint (“Consolidated Complaint”). (ECF No. 75). They assert one federal cause

 of action—violation of Section 14(a) of the Securities Exchange Act of 1934 (“Exchange Act”)

 and Exchange Act Rule 14a-9—against the Director Defendants.6 They also allege five state law

 claims against the Director Defendants and/or the Officer Defendants,7 including two counts of

 breach of fiduciary duty, unjust enrichment, corporate waste, and a claim for contribution and

 indemnification. The FirstEnergy Defendants moved to dismiss for failure to state a claim on

 February 24, 2021. (ECF No. 79). The motion is now fully briefed and ripe for review.

                                    III. STANDARD OF REVIEW

         A complaint will survive a motion to dismiss if the plaintiff alleges facts that “state a claim

 to relief that is plausible on its face” and that, if accepted as true, are sufficient to “raise a right to

 relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007); see

 also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (expounding Fed. R. Civ. P 8(a)(2)’s “short and


 6
  The Director Defendants include: (1) Charles E. Jones, Chief Executive Officer of FirstEnergy from 2015
 until October 29, 2020; (2) Michael J. Anderson, Director since 2007 and Chair of the Audit Committee;
 (3) Steven J. Demetriou, Director since 2017 and Chair of the Finance Committee; (4) Julia J. Johnson,
 Director since 2011; (5) Donald T. Misheff, Director since 2012; (6) Thomas N. Mitchell, Director since
 2016 and Chair of the Operations and Safety Oversight Committee; (7) James F. O’Neil, III, Director snice
 2017 and Chair of the Compensation Committee; (8) Christopher D. Pappas, Director since 2011 and
 current Executive Director; (9) Sandra Pianalto, Director since 2018; (10) Luis A. Reyes, Director since
 2013, and (11) Leslie M. Turner, Director since 2018. (Consol. S’holder Compl. ¶¶ 22−33, ECF No. 75).
 7
  The Officer Defendants include: (1) Michael J. Dowling, former Senior Vice President, External Affairs;
 (2) James E. Pearson, former Chief Finance Officer; (3) Robert Reffner, former Senior Vice President and
 Chief Legal Officer; (4) Steven E. Strah, President and acting Chief Executive Officer; (5) K. Jon Taylor,
 former Vice President, Controller and Chief Accounting Officer, former President of Ohio Operations,
 former Vice President of Utilities, and current Chief Financial Officer; and (6) Ebony Yeboah-Amankwah,
 former Vice President, General Counsel and Chief Ethics Officer. (Id. ¶¶ 34−39).

                                                     10
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 11 of 44 PAGEID #: 1279




 plain statement” rule). A complaint must therefore “contain either direct or inferential allegations

 respecting all material elements to sustain a recovery under some viable theory.” Edison v. Tenn.

 Dep’t of Children’s Servs., 510 F.3d 631, 634 (6th Cir. 2007).

        In assessing the sufficiency and plausibility of a claim, courts “construe the complaint in

 the light most favorable to the plaintiff, accept its allegations as true, and draw all reasonable

 inferences in favor of the plaintiff.” Directv, Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir. 2007). A

 complaint that suggests “the mere possibility of misconduct” is insufficient. Iqbal, 556 U.S. at

 679 (citing Twombly, 550 U.S. at 556). Thus, dismissal is appropriate only if “it appears beyond

 doubt that the plaintiff can prove no set of facts in support of his claim which would entitle him to

 relief.” Guzman v. U.S. Dep’t of Homeland Sec., 679 F.3d 425, 429 (6th Cir. 2012) (quotation

 omitted).

        Shareholder derivative actions must satisfy the additional pleading standard in Rule

 23.1(b)(3), which requires a complaint to state with particularity “any effort by the plaintiff to

 obtain the desired action from the directors” and, if applicable, “the reasons for not obtaining the

 action or not making effort.” Fed. R. Civ. P. 23.1. Demand is excused as futile under Rule 23.1

 when “the directors’ minds are closed to argument and . . . they cannot properly exercise their

 business judgment in determining whether the suit should be filed.” In re Ferro Corp. Derivative

 Litig., 511 F.3d 611, 618 (6th Cir. 2008) (citation omitted). A complaint meets this standard when

 it alleges particularized facts that create “a reasonable doubt that a majority of the board of

 directors [was] capable of making a disinterested and independent decision about whether to

 initiate litigation” at the time of filing. In re Cardinal Health Derivative Litig., No. 2:19-cv-2491,

 2021 WL 425966, at *13 (S.D. Ohio Feb. 8, 2021) (citing In re Gas Nat., No. 1:13 CV 02805,

 2015 WL 3557207, at *6 (N.D. Ohio June 4, 2015).



                                                  11
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 12 of 44 PAGEID #: 1280




                                      IV. LAW & ANALYSIS

        The FirstEnergy Defendants first move to dismiss Plaintiffs’ Section 14(a) claim. After

 concluding the federal cause of action fails, the FirstEnergy Defendants argue the Court should

 decline to exercise supplemental jurisdiction over the remaining state law claims. Alternatively,

 they argue that the Plaintiffs have failed to demonstrate demand futility and therefore do not have

 standing to bring any claim. The Court considers each of these arguments below.

                                        A. Section 14(a) Claim

        Section 14(a) of the Exchange Act makes it unlawful to solicit shareholder approval by

 using proxy statements that do not comply with the rules and regulations of the Securities

 Exchange Commission. 15 U.S.C. § 78n(a)(1). Regulation 14a-9 prohibits a proxy solicitation by

 means of a proxy statement that contains material facts that are false or misleading at the time they

 are issued and in light of the circumstances under which they are made. 17 C.F.R. § 240.14a−9(a).

 In enacting Section 14(a), Congress intended to “prevent management or others from obtaining

 authorization for corporate action by means of deceptive or inadequate disclosure in proxy

 solicitation.” In re Gen. Tire & Rubber Co. Sec. Litig., 726 F.2d 1075, 1082 (6th Cir. 1984) (citing

 J.J. Case Co. v. Borak, 377 U.S. 426, 431 (1964). The provision aims to “control the conditions

 under which proxies may be solicited with a view to preventing the recurrences of abuses

 which . . . [had] frustrated the free exercise of the voting rights of stockholders.” Id. (quoting H.R.

 Rep. No. 1383, 73d Cong., 2d Sess., 13, 14). Thus, “[o]nly when the proxy statement fully and

 fairly furnishes all the objective material facts as to enable a reasonably prudent stockholder to

 make an informed investment decision is the federal purpose in the securities laws served.”

 Mendell v. Greenberg, 927 F.2d 667, 674, (2d Cir. 1990), amended, 938 F.2d 1528 (2d Cir. 1990).




                                                   12
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 13 of 44 PAGEID #: 1281




         To plead a Section 14(a) claim, a plaintiff must allege: (1) a proxy statement contained a

 material misrepresentation or omission; (2) the defendants were at least negligent in their

 misrepresentation or omission;8 (3) the misrepresentation or omission caused plaintiff’s injury;

 and (4) the proxy statement was an essential link to the accomplishment of the transaction that

 harmed plaintiff. See, e.g., Smith v. Robbins & Myers, Inc., 969 F. Supp 2d 850, 868 (S.D. Ohio

 2013); In re Gas Nat., 2015 WL 3557207, at *12.

         The Private Securities Litigation Reform Act (“PSLRA”) requires heightened,

 particularized pleadings to support a 14(a) claim: “Under the PSLRA, a complaint must ‘specify

 each statement alleged to have been misleading, the reason or reasons why the statement is

 misleading, and, if an allegation regarding the statement or omission is made on information and

 belief, the complaint shall state with particularity all facts on which that belief is formed.” Smith,

 969 F. Supp 2d at 867 (quoting La. Mun. Police Emps. Ret. Sys. v. Cooper Indus. PLC, 12CV1750,

 2012 WL 4958561, at *4 (N.D. Ohio Oct. 16, 2012)).

         Defendants argue that the Section 14(a) claim fails as a matter of law because Plaintiffs

 have not: (1) pled falsity or misleadingness with sufficient particularity; (2) demonstrated

 negligence; or (3) properly asserted causation. Relatedly, they ask the Court to dismiss Plaintiffs’

 remaining state law claims for lack of subject matter jurisdiction.

                                       1. Falsity or Misleadingness

         Federal Rule of Civil Procedure 9(b) and the PSLRA together require a Section 14(a)

 plaintiff to identify each statement alleged to have been misleading, the reason or reasons why the

 statement is misleading, and all facts on which that belief is formed. Shaev v. Baker, No. 16-cv-


 8
   The FirstEnergy Defendants argue unpersuasively that pleading scienter is essential to state a Section
 14(a) claim. For the Court’s full analysis on the required state of mind for a Section 14(a) claim, see infra
 subsection IV.A.2.

                                                      13
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 14 of 44 PAGEID #: 1282




 05541-JST, 2017 WL 1735573, at *15 (N.D. Cal. May 4, 2017) (citing In re Countrywide Fin.

 Corp. Derivative Litig., 554 F. Supp. 2d 1044, 1075 (C.D. Cal. 2008)). A statement or omission is

 materially false or misleading when there is a “substantial likelihood that a reasonable shareholder

 would consider it important in deciding how to vote” and the statement or omission “renders the

 proxy materials misleading.” Smith, 969 F. Supp. 2d at 869 (citing IBEW Local 98 Pension Fund

 v. Cent. Vt. Pub. Serv. Corp., No. 5:11-cv-222, 2012 WL 928402, at *9 (D. Vt. Mar. 19, 2012);

 see also In re Gas Nat., 2015 WL 3557207, at *12. Moreover, “[t]o the extent the materiality

 question is close,” the general rule at the motion to dismiss stage is that “a complaint may not

 properly be dismissed on the ground that the alleged misstatements or omissions are not material

 unless they are so obviously unimportant to a reasonable investor that reasonable minds could not

 differ on the question of their unimportance.” In re Gas Nat., 2015 WL 3557202, at *13 (quoting

 Smith, 969 F. Supp. 2d at 869 n.23).

         Contrary to Defendants’ contention, this Court finds that Plaintiffs’ allegations meet the

 heightened pleading requirements of the PSLRA. (See ECF No. 80 at 22−23). Plaintiffs allege that

 the Director Defendants caused the Company to issue Proxy Statements that concealed an illegal

 bribery scheme, its implications for FirstEnergy’s overall business and financial health, and the

 deficient governance practices at the Company that allowed it to proceed. (Consol. Compl. ¶¶

 151−67, 177−88, 197−208, 329−36, ECF No. 75). Specifically, Plaintiffs assert that the 2018,

 2019, and 20209 Proxy Statements contained several material misstatements. For example, the


 9
  The FirstEnergy Defendants argue that the 2020 Proxy Statement lacks an essential link to FirstEnergy’s
 actions because the Consolidated Complaint alleges the improper payments ended by March 2020, a month
 before the Company filed the 2020 Proxy. (ECF No. 80 at 26). In support of this contention, Defendants
 offer a one-sentence analysis, citing Kelley v. Rambus, Inc., No. C 07-1238 JF, 2008 WL 5170598 (N.D.
 Cal. Dec. 9, 2008). Kelley, however, holds that failing to disclose corporate actions “that occurred years
 earlier—i.e., the backdating” cannot “postulate[] an ‘essential link.’” Id. at *7. Here, unlike the years-long
 gap in Kelley, Plaintiffs allege that over $1 million of FirstEnergy funds were wired to Householder in
 February 2020, and that Director Defendants issued the 2020 Proxy on April 1, 2020. (Consol. Compl. ¶¶

                                                      14
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 15 of 44 PAGEID #: 1283




 2018 Proxy told investors that the “full Board considers risks applicable to your Company at each

 meeting in connection with its consideration of significant business and financial developments of

 your Company.” (Id. ¶ 158). It also explained how the Company’s Audit Committee assisted the

 Board with “the integrity of your Company’s financial statements [and] your Company’s

 compliance with legal, risk management and oversight, and regulatory requirements . . .” (Id. ¶

 159). Moreover, it represented that the “Board further strengthened its oversight of your

 Company’s lobbying activities and . . . maintains an informed status with respect to the Company’s

 practices relating to corporate political participation, and dues and/or contributions to industry

 groups and trade associations.” (Id. ¶ 159). Through the 2018 Proxy, Director Defendants also

 solicited stockholders to re-elect themselves to the Board and to approve executive compensation.

 (Id. ¶ 158).

         The 2019 and 2020 Proxies made similar representations. (See id. ¶¶ 177−181, 199−202).

 The 2019 Proxy represented that the Company’s compensation structure “mitigate[d] undue risk

 through compensation design, corporate policies, and effective governance” through its “pay-for-

 performance” plan. (Id. ¶ 183). Similarly, the 2020 Proxy assured shareholders that FirstEnergy

 had “decision-making and oversight processes in place for political contributions and

 expenditures,” which it said included a periodic review of “this policy and related practices as well

 as dues and/or contributions to industry groups and trade associations” by “your Board’s Corporate

 Governance and Corporate Responsibility Committee.” (Id. ¶ 202). Both proxies also solicited

 votes for the Director Defendants’ re-election and sought approval of executive compensation. (Id.

 ¶¶ 177, 198).




 197, 204, ECF No. 75). This Court therefore declines to infer that a causal link between the 2020 Proxy and
 FirstEnergy’s conduct does not exist.

                                                     15
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 16 of 44 PAGEID #: 1284




        Moreover, Plaintiffs explain in detail why the proxy misstatements and omissions were

 misleading—i.e., by the time the Director Defendants filed the 2018 Proxy, FirstEnergy had

 already “funneled millions to support the candidacies of Householder and his allies in the 2018

 election, in exchange for legislative actions desired by the Company’s leaders.” (Id. ¶ 163).

 Plaintiffs allege that the Company’s purported compliance with federal and state lobbying

 requirements and its representations about its oversight of these expenditures was designed to

 influence how shareholders voted on multiple occasions. (Id. ¶¶ 11, 65−76, 164−67). Plaintiffs

 maintain that the FirstEnergy Defendants knew these issues were important to shareholders, since

 they had presented proposals asking for improved disclosures in connection with the Company’s

 lobbying efforts several times. (Id.). Without the misleading statements in each of the proxies,

 Plaintiffs contend that the shareholders would not have voted to re-elect Board members. (Id. ¶¶

 164, 177, 198). Instead, they would have “worked to elect directors who would have worked to

 prevent or mitigate the harm to the Company giving rise to this action.” (Id. ¶ 164).

        Plaintiffs also describe how the Proxy Statements related to compensation misled

 shareholders by conveying that the Company’s compensation structures “encouraged long-term

 stockholder value, pay for performance, and good governance.” (Id. ¶¶ 165−67). They say these

 statements falsely and misleadingly assured the shareholders that Defendants “were not

 incentivized to place their own financial interests before the interests of the Company.” (Id. ¶ 162).

 On the basis of these representations, FirstEnergy shareholders voted in support of millions of

 dollars in executive compensation for certain Director Defendants “without the benefit of material

 information regarding Defendants’ roles in, and their failure to address, the Ohio bribery scheme,”

 which Plaintiffs say caused damage to the Company. (Id. ¶ 167).




                                                  16
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 17 of 44 PAGEID #: 1285




        Combined, Plaintiffs make extensive and detailed allegations suggesting that the

 FirstEnergy Defendants issued numerous false or misleading statements through the proxies, and

 they provide ample reasons as to why the statements misled shareholders. Extensive facts, outlined

 in the Consolidated Complaint, support their position. Accordingly, this Court finds that Plaintiffs

 have met the particularity requirements under Rule 9 and the PSLRA.

        The FirstEnergy Defendants argue that Plaintiffs do not properly plead falsity or

 misleadingness because the Consolidated Complaint does not identify the law or regulation

 governing “lobby activities and expenditures” the Director Defendants violated. (ECF No. 80 at

 22). In support, Defendants profess that the Sixth Circuit does not require companies to disclose

 their own illegal actions on proxy statements: “[S]tatements regarding ‘legal compliance’ are not

 [generally] actionable because companies have no duty to opine about the legality of their own

 actions . . . Such information is considered ‘soft’ and, therefore, disclosure is not required.” Ind.

 State Dist. Council of Laborers & Hod Carriers Pension & Welfare Fund v. Omnicare, Inc.

 (“Omnicare”), 583 F.3d 935, 945 (6th Cir. 2009).

        The Sixth Circuit had previously limited this “soft information” rule to instances where the

 company remained completely silent about its illegal conduct. See In re Sofamor Danek Group,

 Inc., 123 F.3d 394, 401−02 (6th Cir. 1997). In Omnicare, the court applied the soft information

 rule to plaintiffs’ Section 10(b) claim, even though the company made “general statements that it

 complied with state law and regulations” because plaintiffs had alleged “few factual allegations”

 about the company’s state of mind. Omnicare, 583 F.3d at 945−46. Moreover, the company

 “merely [made] a generic claim that [it] complied with the law without providing any specifics

 and generally refus[ed] to discuss” the topic. Id. at 947. These facts are inapposite to the case sub

 judice. First, Plaintiffs allege that the Director Defendants made numerous specific statements



                                                  17
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 18 of 44 PAGEID #: 1286




 about their legal compliance and risk management actions with respect to lobbying and political

 spending. Second, as the Court details in subsection IV.A.2 infra, Plaintiffs make extensive

 allegations about the FirstEnergy Defendants’ state of mind.

        Even with these key differences, the Omnicare court did not, as Defendants suggest,

 require plaintiffs to identify a specific law to overcome the “soft information” rule. This Court

 declines to impose such a requirement for the first time here. Instead, the Court recalls the purpose

 of the Exchange Act generally and the proxy rules specifically:

        The securities laws do not operate under the assumption that material information
        need not be disclosed if management has reason to suppress it. Investors may want
        to know about illegal activity for the same reason management will be reluctant to
        reveal it: it threatens to damage the corporation severely. Excepting from the
        disclosure rules information management has reason to hide would eviscerate the
        protection for investors embodied in the securities laws.

 Roeder v. Alpha Indus., Inc., 814 F.2d 22, 25 (1st Cir. 1987) (considering whether allegations that

 the director-defendants engaged in bribery were material for a Section 10(b) claim). Even absent

 a per se rule requiring disclosure of unproven criminal conduct, “corporations are [nevertheless]

 obligated to disclose facts necessary to ensure that their statements are not misleading. This duty

 applies to the disclosure of [uncharged, unadjudicated conduct] to the same extent it applies to the

 disclosure of any other material information.” In re Marsh & McLennan Companies, Inc. Sec.

 Litig., 536 F. Supp. 2d 313, 323 (S.D.N.Y. 2007) (citation omitted). Courts must therefore ask

 whether misstatements or omissions “are sufficiently connected to Defendants’ existing

 disclosures to make those public statements misleading.” Id. Here, the Court finds Plaintiffs

 sufficiently established such a connection.

        Defendants also contend that Plaintiffs have not satisfied the pleading requirement because

 the Consolidated Complaint lacks particularized facts establishing each element of the underlying

 offense of bribery. (ECF No. 80 at 22−24; ECF No. 87 at 18−19). Defendants rely primarily on

                                                  18
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 19 of 44 PAGEID #: 1287




 Gamm v. Sanderson Farms, Inc., which held that “the facts of underlying illegal acts,” including

 “the basic elements of [the] underlying” offense, must be pled with particularity for Section 10(b)

 claims “when a complaint claims that statements were rendered false or misleading through the

 non-disclosure of illegal activity[.]” 944 F.3d 455, 465 (2d Cir. 2019).10

         Although neither party acknowledges how the Gamm court reached this conclusion, this

 Court finds its reasoning to be especially instructive here:

         We acknowledged that the PSLRA does not require the plaintiffs plead with
         particularity every single fact upon which their beliefs concerning false or
         misleading statements are based, but rather that plaintiffs must plead with
         particularity sufficient facts to support those beliefs. Accordingly, this court held
         that a complaint can meet the new pleading requirement imposed by [the PSLRA]
         by providing documentary evidence and/or a sufficient general description of the
         personal sources of the plaintiffs’ beliefs, although there is no requirement that the
         plaintiffs name confidential sources.

         Applying that standard here, [plaintiffs] were required to plead with particularity
         sufficient facts to support their contention that [the company’s] financial
         disclosures were misleading. This necessarily requires that facts of the underlying
         anticompetitive conduct be pleaded with particularity. Otherwise, the complaint
         provides no basis as to what rendered [the company’s] statements false or
         misleading. Because [the company’s] statements were materially false or
         misleading only to the extent that anticompetitive conduct actually occurred,
         appellants must plead sufficient — though not exhaustive — facts describing the
         essential elements of that underlying conduct.

 Id. (emphasis added) (internal citations omitted).

         Notably, the Gamm plaintiffs alleged only that the company “engaged in ‘anticompetitive’

 conduct” but offered “virtually no explanation as to how that collusive conduct occurred, and



 10
   The Sixth Circuit has never opined on whether plaintiffs must plead each element of illegal conduct when
 claiming the non-disclosure of an illegal act was false or misleading for purposes of either Section 10(b) or
 Section 14(a) claims.



                                                      19
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 20 of 44 PAGEID #: 1288




 whether and how it affected trade.” Id. The court found that these facts were insufficient because

 they did not comport with the stated intent and public policy rational of the PSLRA, which is “to

 deter strike suits wherein opportunistic private plaintiffs file securities fraud claims of dubious

 merit in order to exact large settlement recoveries.” Id. (citing Novak v. Kasaks, 216 F.3d 300,

 313–14 (2d Cir. 2000); H.R. Conf. Rep. No. 104-369, at 31 (1995)). At heart, the Gamm court

 holding was meant to prevent a company from having “to simultaneously defend itself” of illegal

 conduct and “in an accompanying securities fraud suit based on facts not alleged with the level of

 particularity required by the statute” because “[s]uch a reality would harm the company’s stock

 and contravene the purpose of securities laws—to protect shareholders’ interests.” Id. at 464–65.

        Keeping in line with the Gamm court’s reasoning, this Court finds that Plaintiffs have

 sufficiently alleged the facts of the underlying bribery conduct. Bribery occurs when “a public

 official agrees that payments will influence an official act.” United States v. Terry, 707 F.3d 607,

 612–13 (6th Cir. 2013) (“This agreement must include a quid pro quo—the receipt of something

 of value in exchange for an official act.” (internal citations omitted)). The agreement “can be

 formal or informal, written or oral.” Id. Accordingly, “‘[m]otives and consequences, not

 formalities,’ are the keys for determining whether a public official entered an agreement to accept

 a bribe, and the trier of fact is ‘quite capable of deciding the intent with which words were spoken

 or actions taken as well as the reasonable construction given to them by the official and the payor.’”

 Id. (citing Evans v. United States, 504 U.S. 255, 274 (1992) (emphasis added) (Kennedy, J.,

 concurring in part and concurring in the judgment)).

        Here, Plaintiffs allege the FirstEnergy Defendants made payments in return for

 Householder’s promise to help enact bailout legislation that would save FirstEnergy from serious

 financial hardship. (Consol. Compl. ¶¶ 53–61). Plaintiffs describe financial motives for this



                                                  20
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 21 of 44 PAGEID #: 1289




 agreement, which resulted from FES’ imperiled fiscal situation, and from the Defendants’ desire

 to increase their incentive-based compensation. (Id. ¶¶ 56, 77, 79–81). Plaintiffs allege that the

 Company flew Householder to Washington, D.C. on its private jet in January 2017; that, during

 this trip, the “corrupt deal was struck and, as FirstEnergy lobbyist and Householder co-conspirator

 [Matt] Borges described, the “unholy alliance” was formed; that the next month, in February 2017,

 Defendant Jones explained to investors the Company was pursuing a “legislative solution [that]

 was a bailout of the . . . nuclear power plants”; that the Company began making clandestine

 quarterly payments of $250,000 to Generation Now, which Householder secretly controlled, in

 March of 2017; that “Householder put FirstEnergy’s money to use” to create favorable legislation

 for the Company. (Id. ¶¶ 59–64). The Consolidated Complaint alleges that “Director Defendants

 actively participated in the bribery and pay-to-play scheme,” by allowing the Company to make

 “massive illegal payments propping up the Officer Defendants’ executive compensation” and by

 covering up the scheme illegally. (Id. ¶ 9).

        According to Plaintiffs, these efforts culminated in the passage of House Bill 6. (Id. ¶ 109)

 (“While the passage of HB6 in the House helped Householder maintain his agreement with

 FirstEnergy, it did not fulfill that agreement. Householder still needed to ensure that HB6 passed

 the Senate and was signed into law.”). HB6 allowed FirstEnergy to collect 94% of the nuclear

 energy subsidy provided for in the bill, or more than $160 million annually. (Id. ¶ 103). Media

 throughout Ohio “derided HB6 as a ‘bailout’ for the specific benefit of FirstEnergy.”). (Id.). In

 sum, the Complaint alleges both the motives and consequences of the alleged bribery.

        The Consolidated Complaint also cites the Criminal Complaint and other events related to

 this action. For example, the Criminal Complaint alleges that Householder and FirstEnergy




                                                 21
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 22 of 44 PAGEID #: 1290




 engaged in “a sophisticated criminal conspiracy to enact legislation on behalf of [FirstEnergy].”11

 (Id. ¶ 7). The Consolidated Complaint quotes U.S. Attorney David DeVillers, who oversaw the

 criminal case and described it as “likely the largest bribery, money laundering scheme ever

 perpetrated against the people of the state of Ohio . . . bribery, pure and simple. This was a quid

 pro quo.” (Id. ¶ 7). Additionally, Householder’s co-conspirator, Juan Cespedes, admitted in his

 October 2020 plea agreement that he and others “orchestrat[ed] payments on multiple occasions

 to Generation Now . . . in return for specific official action by Householder relating to the passage

 and preservation of legislation that would go into effect and save the operation of two nuclear

 power plants in Ohio.” (Id. ¶ 47).

        These allegations assure the Court that Plaintiffs are not merely opportunistic litigants with

 claims of dubious merit that could place the shareholders’ value at risk. Rather, the allegations

 sufficiently describe the personal sources of Plaintiffs’ contention that FirstEnergy’s financial

 disclosures were misleading, and they also provide a sufficient factual basis describing the

 underlying illegal conduct. The Consolidated Complaint, together with the allegations in the

 Criminal Complaint and FBI Affidavit, provides FirstEnergy with more than enough particularity

 to defend themselves against this action. Finally, as the Consolidated Complaint emphasizes, the

 FirstEnergy stock has already suffered a significant drop in value, and the Court finds no further

 risk to the shareholders by permitting this action to proceed.

                                       2. Level of Culpability

        The FirstEnergy Defendants argue that Plaintiffs have failed to plead the requisite level of

 culpability for their Section 14(a) claim; they contend that the Sixth Circuit requires Plaintiffs to


 11
   The Criminal Complaint refers to FirstEnergy as “Company A.” FirstEnergy later admitted that it was
 Company A. (ECF No. 86 at 19) (citing Smith v. FirstEnergy Corp., C.A. No. 2:20-cv-03987-EAS-KAJ
 (S.D. Ohio) (ECF No. 49).

                                                  22
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 23 of 44 PAGEID #: 1291




 plead scienter and that they have not. Accordingly, the Court considers the appropriate level of

 culpability for Section 14(a) claims before turning to the sufficiency of Plaintiffs’ allegations.

                                       a. Appropriate Standard

        Neither Section 14(a) nor the Security Exchange Commission’s regulations specify the

 culpable state of mind required for liability under Section 14(a)⸺scienter or negligence. See In re

 Willis Towers Watson Plc Proxy Litig., 439 F. Supp. 3d 704, 712 (E.D. Va. 2020), motion to certify

 appeal denied, no. 117CV1338AJTJFA, 2020 WL 923331 (E.D. Va. Feb. 26, 2020) (“The

 language of Section 14(a) and the applicable regulation . . . do not specify a particular state of

 mind.”). Additionally, the Supreme Court has expressly declined to determine the defendant’s

 requisite state of mind to establish Section 14(a) liability. See TSC Indus., Inc. v. Northway, Inc.,

 426 U.S. 438, 444 n.7 (1976) (“Our cases have not considered, and we have no occasion in this

 case to consider, what showing of culpability is required to establish the liability under § 14(a) of

 a corporation issuing a materially misleading proxy statement[.]”).

        To support the proposition that Plaintiffs must plead scienter as part of their Section 14(a)

 claim, Defendants primarily rely on dicta in a footnote from Indiana State District Council v.

 Omnicare, 719 F.3d 498, 506−07 n.3 (6th Cir. 2013). The footnote cites to Adams v. Standard

 Knitting Mills, Inc., 623 F.2d 422, 428 (6th Cir. 1980) to support the statement that Section 14(a)

 “require[s] proof of scienter to state a claim.” Omnicare I, 719 F.3d at 506−07 n.3. Adams,

 however, issued a narrow holding that required scienter for claims only against outside

 accountants, and not for corporate insiders, directors, or officers like the Director Defendants.

 Adams, 623 F.2d at 428 (“[W]e conclude that scienter should be an element of liability in private

 suits under the proxy provisions as they apply to outside accounts.”); see also SEC v. Shanahan,

 646 F.3d 536, 546−47 (8th Cir. 2011) (applying scienter standard to outside directors and



                                                  23
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 24 of 44 PAGEID #: 1292




 accountants). Significantly, the Adams court noted that, at the time, only two circuits had examined

 the issue of culpability since the Supreme Court established a private right of action under Section

 14(a), and that “[b]oth ha[d] prescribed a negligence standard for the corporation issuing the proxy

 statement.” Id.

        Subsequent decisions in this Circuit have recognized that Adams does not apply to claims

 against corporate insiders responsible for issuing proxy statements. The Northern District of Ohio,

 for example, holds that corporate officers and directors may be found liable for a Section 14(a)

 violation when they are negligent:

        Where the defendant is the corporate issuer, and the corporate officials are
        responsible for drafting the proxy statement, the Gerstle negligence standard
        applies, but not the Adams scienter requirement. As a matter of law, the preparation
        of a proxy statement by corporate insiders containing materially false or misleading
        statements or omitting a material fact is sufficient to satisfy the Gerstle negligence
        standard.

 Fradkin v. Ernst, 571 F. Supp. 829, 843 (N.D. Ohio 1983) (citing Gerstle v. Gamble-Skogomo,

 Inc., 478 F.2d 1281 (2d Cir. 1973)); see also In re Prison Realty Sec. Litig., 117 F. Supp. 2d 681,

 689 (M.D. Tenn. 2000) (“[A] § 14(a) claim can be based on negligence, rather than scienter.”);

 City of Livonia Emps’ Ret. Sys. v. Talmer Banorp, Inc., Case No. 16-12229, 2018 WL 5840714,

 at *9 (E.D. Mich. Nov. 8, 2018) (finding that the “plaintiff must prove only that defendants acted

 at least negligently” to state a Section 14(a) claim). Courts in the Southern District of Ohio agree.

 In re Gas Nat., 2015 WL 3557207, at *12 (applying negligence standard); Smith, 969 F. Supp. 2d

 at 868 (same).

        A majority of courts outside the Sixth Circuit also routinely apply a negligence standard

 for Section 14(a) liability against corporate insiders. Kurr v. Orbital ATK, Inc., 276 F. Supp. 3d

 527, 539−40 (E.D. Va. 2017) (“[T]he majority of circuits to address the question of whether §



                                                  24
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 25 of 44 PAGEID #: 1293




 14(a) requires negligence or fraud have found that § 14(a) requires only negligence as the requisite

 standard of culpability.”); see also Beck v. Dobrowski, 559 F.3d 680, 682 (7th Cir. 2009) (“Section

 14(a) requires proof only that the proxy solicitation was misleading, implying at worst negligence

 by the issuer.”); Knollenberg v. Harmonic, Inc., 152 F. App’x 674, 682 (9th Cir. 2005) (“[U]nlike

 Section 10(b), Section 14(a) lacks any reference to a manipulative device or contrivance . . . to

 indicate a requirement of scienter.” (internal citations omitted)); Wilson v. Great Am. Indus., Inc.,

 855 F.2d 987, 995 (2d Cir. 1998) (“As a matter of law, the preparation of a proxy statement by

 corporate insiders containing materially false or misleading statements or omitting a material fact

 is sufficient to satisfy the Gerstle negligence standard.”); Shidler v. All Am. Life & Fin. Corp., 775

 F.2d 917, 926─27 (8th Cir. 1985) (“[Section 14(a)] Plaintiffs need only show that the defendants

 negligently drafted the proxy statement.”); Parsons v. Jefferson-Pilot Corp., 789 F. Supp. 697, 703

 (M.D.N.C. 1992) (holding that a Section 14(a) “plaintiff need not establish that the corporate issuer

 intended to deceive the shareholders or that the shareholders acted recklessly”).

         A plain text reading of Section 14(a) underlies the above case law and supports reliance on the

 negligence standard. The Knurr court offers particularly helpful statutory context:

         To begin with, neither the text of § 14(a) nor Rule 14a–9 refers to a specific state
         of mind. See 15 U.S.C. § 78(n); 17 C.F.R. § 240.14a–9. Importantly, where
         Congress has intended a scienter requirement, it has used words like
         “manipulative,” “deceptive,” “device,” or “contrivance” to describe the state of
         mind required to establish liability, and the rules promulgated pursuant to those
         statutory provisions have used terms like “scheme” or “artifice to defraud.” See,
         e.g., 15 U.S.C. § 78(j)(b); 17 C.F.R. § 240.10b–5. As the Supreme Court has noted,
         terms like “‘device,’ ‘scheme,’ and ‘artifice,’ all connote knowing and intentional
         practices.” Aaron v. SEC, 446 U.S. 680, 696, 100 S.Ct. 1945, 64 L.Ed.2d 611
         (1980). By contrast, the plain text in § 14(a) and Rule 14a–9 conspicuously
         excludes these words. And significantly, where Congress has omitted such fraud-
         like words in other areas of securities law, courts have uniformly applied negligence
         standards.



                                                     25
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 26 of 44 PAGEID #: 1294




 Knurr, 276 F. Supp. 3d at 539. The Court views Section 14(a) similarly and presumes that Congress

 would explicitly include a heightened level of culpability if it intended to do so. In the absence of

 such language, and in accordance with courts within and outside this Circuit, this Court analyzes

 Plaintiffs’ Section 14(a) claim under the negligence standard.

                              b. Whether Plaintiffs Allege Negligence

        Proceeding under a negligence standard for Section 14(a) claims, the question now before

 the Court is whether Plaintiffs have, in fact, pled facts adequate to state a claim. Here, the

 Consolidated Complaint states that “Director Defendants negligently issued, caused to be issued,

 and participated in the issuance of materially misleading written statements to shareholders which

 were contained in the 2018, 2019, and 2020 Proxies.” (Consol. Compl. ¶ 332, ECF No. 75).

 Specifically, Plaintiffs allege numerous “red flags” put the Director Defendants on notice of the

 bribery scandal. Plaintiffs cite numerous news articles raising concerns about the propriety of the

 relationship between FirstEnergy, Householder and House Bill 6, including a March 2017 article

 by the Dayton Daily News; an April 2018 article by Cleveland.com; a July 2018 article by

 Cleveland.com; an April 2019 article by WKSU Ohio; a May 2013 article by Cleveland.com; and

 July 2019 articles by both the Columbus Dispatch and Cincinnati Enquirer. (Id. ¶¶ 57, 62, 97, 105,

 113). These articles highlighted the “millions of dollars in mysteriously funded TV and radio ads”

 which derived “largely from a dark-money group backing FirstEnergy” and that the Company

 “spent to buy support from legislators for their coal and nuclear bailout[.]” (Id. ¶ 105). Plaintiffs

 also cite other public and press reports, such as a May 2019 report by an Ohio energy watchdog,

 which discussed “the unmistakable connection between the lobbying by FirstEnergy to pass HB6

 and General Now’s $1 million donation” and questioned “whether FirstEnergy is using secret

 money to build public pressure this year[.]” (Id.).



                                                  26
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 27 of 44 PAGEID #: 1295




          The Consolidated Complaint also alleges investors issued formal proposals at annual

 shareholder meetings, requesting increased Board transparency and oversight of the Company’s

 political spending. (Id. ¶¶ 65−66, 70−71, 168). In 2015 and 2016, shareholders said they were

 “missing key information needed to assess [FirstEnergy’s] efforts to influence public policy” and

 that they needed additional disclosure so they could “assess whether lobbying expenditures [were]

 in the best interest of stockholders and long-term [Company] value.” (Id. ¶ 66). By 2017⸺after

 the Company began making regular, undisclosed $250,000 payments to Generation

 Now⸺shareholders again expressed that they “believe[d] full disclosure of our company’s direct

 and indirect lobbying activities and expenditures is required to assess whether FirstEnergy’s

 lobbying is consistent with its expressed goals and in the best interests of shareholders.” (Id. ¶ 70).

 The shareholders requested the Company to prepare an annual disclosure report which would

 include “[p]ayments by FirstEnergy used for (a) direct or indirect lobbying or (b) grassroots

 lobbying communications, in each case including the amount of the payment and the recipient.”

 (Id.).

          Plaintiffs allege the Director Defendants responded to these concerns by “recklessly

 disregarding” these red flags in contravention of their fiduciary duties. (Id. ¶¶ 254, 258, 263, 269,

 274, 278, 283, 287, 292, 296). Instead, Defendants issued multiple Proxy Statements, assuring the

 shareholders that Defendants were monitoring, managing, and mitigating the Company’s

 significant risks and compliance with legal requirements. (Id. ¶¶ 158−62; 177−84; 197−208). The

 Proxies detailed how the Company’s Audit and Corporate Governance Committees implemented

 the Company’s policies around disclosure, oversaw lobbying and political participation activities,

 and verified the accuracy of financial records. (Id. ¶¶ 159−61, 179−81, 200−02). Further, the




                                                   27
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 28 of 44 PAGEID #: 1296




 Consolidated Complaint asserts that Director Defendants issued these Proxies to solicit votes for

 director re-election and executive compensation. (Id. ¶ 333).

        In sum, Plaintiffs allege the Director Defendants misrepresented or failed to disclose

 FirstEnergy’s participation in the bribery scandal, that they had ample notice of the corrupt

 relationship between FirstEnergy and Householder through numerous public news reports and

 concerns raised by shareholders, and that they assured the shareholders they were protecting the

 Company from risk in the same documents they used to seek re-election and compensation

 approval. The Court finds that these allegations plead negligence on the part of Director

 Defendants with sufficient particularity.

                                             3. Causation

        Plaintiffs allege the misleading 2018, 2019, and 2020 Proxy Statements issued by the

 Director Defendants were an “essential link” in causing harm to FirstEnergy in two primary ways.

 (Id. ¶ 334). First, they argue the Company’s shareholders re-elected Defendants Anderson,

 Demetrious, Johnson, Jones, Misheff, Mitchell, O’Neil, Pappas, Pianalto, Reyes, and Turner to the

 Board as a result of the misleading Proxy Statements issued by the Director Defendants. (Id. ¶¶

 164, 187, 205). Had the shareholders “known the truth,” Plaintiffs contend “they would not have

 re-elected FirstEnergy’s incumbent directors and would have instead worked to elect directors who

 would have worked to prevent or mitigate the harm to the Company giving rise to this action.” (Id.

 ¶¶ 164, 187, 205). Furthermore, Plaintiffs allege the Proxy Statements “resulted in the reelection

 of directors who subjected FirstEnergy to significant monetary and reputational damages.” (Id.).

 Those damages include “massive losses” resulting from the 45% drop in closing price on

 FirstEnergy stock (from $41.26 per share to $22.85 per share) after the Criminal Complaint was

 filed on July 20, 2020. (Id. ¶ 135).



                                                 28
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 29 of 44 PAGEID #: 1297




           Second, based on the same Proxies, Plaintiffs say the shareholders voted in support of

 significant executive compensation that incentivized the Director Defendants’ misconduct. (Id. ¶¶

 165−67, 188, 206−08). This compensation included $25 million in compensation to Director

 Defendants in 2017, more than $18 million in 2018, and approximately $30 million in 2019. (Id.).

 Though the Proxy Statements claimed the Company’s compensation structure was “intended to

 mitigate excessive risk taking,” Plaintiffs allege the compensation actually incentivized

 Defendants’ misconduct. (Id. ¶¶ 79, 81, 87, 162, 184, 258, 278, 283, 287, 296). Furthermore,

 Plaintiffs allege Defendants were motivated to engage in the Ohio bribery scheme because “it

 increased the amount of their performance-based compensation tied to the achievement of certain

 FirstEnergy financial targets.” (Id.). Incentive-based compensation comprised 74% to 87% of the

 Officer Defendants’ total pay in 2017, 2018, and 2019. (Id. ¶ 81).

           Most courts, including those in the Southern District of Ohio, break causation in securities

 cases into two separate but related concepts: loss causation and transaction causation. See Smith,

 969 F. Supp. 2d at 868 (quoting Lane v. Page, 727 F. Supp. 2d 1214, 1227−28 (D.N.M. 2010)

 (noting that Section 14(a) claims must allege that “the misrepresentations or omissions caused the

 loss of which plaintiff complains” and that “the proxy statement was an essential link in the

 completion of the transaction at issue”)). Loss transaction “refers to the cause of the particular

 economic harm,”12 while transaction causation “refers to whether the misrepresentations induced

 plaintiffs to engage in the subject transaction.” Id. (internal quotations omitted); see also Murray

 v. Hosp. Corp. of Am., 682 F. Supp. 343, 346 (M.D. Tenn. 1988) (finding that Section 14(a)

 transaction causation requires plaintiffs to show “that they relied on the alleged material

 misrepresentation or omission in making an investment decision”). Generally, transaction


 12
      The FirstEnergy Defendants have not contested loss causation.

                                                      29
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 30 of 44 PAGEID #: 1298




 causation is satisfied when a plaintiff “proves that the proxy solicitation itself, rather than the

 particular defect in the solicitation materials, was an essential link in the accomplishment of the

 corporate transaction.” Leff v. CIP Corp., 540 F. Supp. 857, 866 (S.D. Ohio 1982) (quoting Mills

 v. Electric Auto-Lite Co., 396 U.S. 375, 385 (1970)). Corporate transactions include loss-

 generating “harmful corporate actions.” Hulliung v. Bolen, 548 F. Supp. 2d 336, 341 (N.D. Tex.

 2008) (quoting In re Browning-Ferris Indus., Inc. S’holder Derivative Litig., 830 F. Supp. 361,

 365 (S.D. Tex. 1993)).

        The Sixth Circuit has yet to define “transaction causation” for purposes of a Section 14(a)

 claim under circumstances analogous to those presented here.13 Other courts, however, have

 sustained Section 14(a) claims where shareholder-plaintiffs have alleged they would not have

 voted to re-elect the current directors or approve executive compensation plans if they had been

 told the truth about their company through truthful proxy statements. See, e.g., In re Wells Fargo

 & Co. S’holder Derivative Litig., 282 F. Supp. 3d 1074, 1105 (N.D. Cal. 2017; In re Fossil, Inc.,

 713 F. Supp. 2d 644, 655 (N.D. Tex. 2010); In re Zoran Corp. Derivative Litig., 511 F. Supp. 2d

 986, 1016 (N.D. Cal. 2007); Countrywide, 544 F. Supp. 2d at 1075−77.

        In Wells Fargo, for example, Plaintiffs alleged they re-elected the director defendants

 based on false and misleading proxy statements, which they said caused harm to the company

 because the directors’ re-election enabled them to continue an illicit sales scheme. In re Wells

 Fargo, 282 F. Supp. 3d at 1105. Plaintiffs also alleged that the misleading proxy statements caused

 shareholders to approve excessive compensation to the director defendants. Id. at 1104−05. The

 court found the plaintiffs adequately alleged loss causation because “the re-election of board


 13
   The Sixth Circuit considered transaction causation under Section 13(e) of the Exchange Act in Howing
 Co. v. Nationwide Corp., 972 F.2d 700, 701−02 (6th Cir. 1992), where minority shareholders brought a
 securities action challenging their corporation’s freeze-out merger transaction with its parent company.

                                                   30
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 31 of 44 PAGEID #: 1299




 members based on false or misleading proxy statements [is] sufficient to establish an “essential

 link” for purposes of a Section 14(a) claim” Id. Additionally, because the proxy statements

 contained misleading statements that caused shareholders to approve an executive compensation

 scheme, the plaintiffs also established causation by alleging the shareholders “directly authorize[d]

 a transaction that resulted in a harm[.]” Id. at 1104; see also Countrywide, 554 F. Supp. 2d at 1075

 (upholding Section 14(a) claims concerning the concealment of corporate fraud where plaintiffs

 allege that if they “had been told the truth about the [c]ompany, they would have never voted (1)

 to reelect the current directors in those three years; or (2) to approve two compensation plans for

 executives and directors[.]”).

        Similarly, in both Fossil and Zoran, shareholders brought Section 14(a) claims against the

 directors of their respective companies for concealing a backdating stock option scheme through

 misrepresentations in proxy statements. 713 F. Supp. 2d at 655; 511 F. Supp. 2d at 1017. The

 Fossil plaintiffs argued that “but for the false proxy statements, the [corporate fraud] would have

 been discovered and stopped, thereby preventing harm to” the company and that the “election of

 the directors by the false proxies [was] an essential link to the harm caused to [the company].” 713

 F. Supp. 2d at 655. They also contended that the election of the directors by the false proxies was

 an essential link the company’s harm. Id. Likewise, the Zoran court found the following:

        [T]he directors use the proxy solicitations to maintain their positions on [the
        company’s] board. Shareholders allegedly kept voting for the board members in
        blissful ignorance of the scheme to grant insiders backdated options while
        shortchanging the company. . . . With each election, the board could continue to
        grant backdated stock options to itself and [company] executives. . . . Had
        shareholders known that defendants had not followed the dictates of the plan in the
        past, this likely would have changed their votes. . . .

        If defendants had not falsely stated in [the company’s] proxy statements that stock
        options were being granted properly under the plans, and that directors were
        complying with the terms of the plans that the shareholders approved, shareholders

                                                  31
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 32 of 44 PAGEID #: 1300




        would have voted those board members out, and the board members would no
        longer have had the means to grant more backdated stock options.

 511 F. Supp. 2d at 1016−17. Based on these allegations, both the Fossil and Zoran courts

 determined that these allegations were “sufficiently stated for purposes of surviving Defendants’

 Rule 12(b)(6) motion.” 713 F. Supp. 2d at 655; 511 F. Supp. 2d at 1017 (noting that the question

 of whether “all these damages items [caused by the continuation of fraud] are compensable under

 Section 14(a) [was] for another day” and not properly decided at the pleading stage).

        The FirstEnergy Defendants argue that Plaintiffs cannot establish causation under this

 theory because other courts find that “injuries occasioned by mismanagement or breach of

 fiduciary duty [are] not redressable under the proxy rules simply by virtue of the fact that acts were

 committed by directors who would not have been elected but for the proxy solicitation.” Browning-

 Ferris Indus., 830 F. Supp. at 370 (holding that allegations of “[d]efendants’ failure to impose

 adequate internal controls” do not state a claim for fraudulent omissions in proxy materials under

 Section 14(a)); Gen. Elec. Co. v. Cathcart, 980 F.2d 927, 930−33 (3d Cir. 1992) (finding no

 Section 14(a) causation because plaintiff did not “set forth specific facts explaining how a

 particular [defendant] participated in or was directly responsible for the misconduct alleged”).

 These cases represent a more common approach, which generally declines to find causation based

 on re-election of board members and “later misconduct undertaken by” them, instead requiring

 shareholders to authorize a specific transaction that directly results in economic harm. In re AGNC

 Inv. Corp., 2018 WL 3239476, at *6 (D. Md. July 3, 2018) (“[T]he mere fact that omissions in

 proxy materials, by permitting directors to win re-election, indirectly lead to financial loss through

 mismanagement will not create a sufficient nexus with the alleged monetary loss”) (emphasis in

 original). Like-minded courts worry that upholding Section 14(a) claims “anytime a director

 commits a bad act and is re-elected without the bad act being disclosed in the proxy statement” is

                                                  32
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 33 of 44 PAGEID #: 1301




 untenable and would negate the transactional causation element. In re iBasis, Inc. Derivative Litig.,

 532 F. Supp. 2d 214, 222 n.7 (D. Mass 2007) (dismissing Section 14(a) claim where plaintiffs

 “fail[ed] to allege that directors were paid anything more than what the [c]ompany would normally

 pay a director” and where no other harm followed the contested proxy statement).

        Here, Plaintiffs allege far more than mere mismanagement or an isolated bad act. Rather,

 they have set forth in detail that the Director Defendants perpetrated an illicit bribery scheme and

 caused substantial risk to the Company that eventually resulted in the loss of nearly half its stock

 value. (See Consol. Compl. ¶ 135, ECF No. 75). Shareholders repeatedly articulated their concerns

 about the Board’s political spending and lobbying by issuing formal proposals for increased

 transparency and oversight. (Id. ¶ 66). In response, Plaintiffs allege the Director Defendants falsely

 and misleadingly stated they were overseeing FirstEnergy’s political spending in the same Proxy

 Statements they used to solicit votes for their re-election. (Id. ¶¶ 158, 177, 198). Moreover, they

 assert that the same Proxy misstatements Defendants used to secure their own re-election also

 elicited the shareholders’ support of their incentive-based compensation. (Id. ¶¶ 165−67, 188,

 206−08).

        Like the allegations in Wells Fargo, Fossil, and Zoran, the Consolidated Complaint in the

 case sub judice adequately pleads causation. Plaintiffs allege that shareholders suffered a loss as a

 result of their vote to re-elect Board members based on false or misleading information in the

 Proxy Statements, which enabled Defendants to continue the illicit bribery scheme. Had the Proxy

 Statements been truthful, Plaintiffs say the shareholders would not have re-elected the Director

 Defendants. The shareholders’ ignorance of the scheme enabled the FirstEnergy Defendants to

 continue to bribe Householder in exchange for self-serving legislation. Finding that these detailed




                                                  33
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 34 of 44 PAGEID #: 1302




 allegations14 support a finding of causation at the pleading stage does not threaten to subsume

 transactional causation due to their unique nature. Therefore, this Court finds that these allegations

 are sufficient to meet the “essential link” requirement under Section 14(a) for purposes of

 surviving the FirstEnergy Defendants’ motion to dismiss.

                         4. Supplemental Jurisdiction over State Law Claims

         This Court finds there is a valid federal predicate claim that shares a common nucleus of

 operative fact with Plaintiffs’ state law claims: the Section 14(a) claim flows from the same

 criminal scheme that underlies Plaintiffs’ claims for breach of fiduciary duty, unjust enrichment,

 corporate waste, and for contribution and indemnification. The Court therefore exercises

 supplemental jurisdiction over the remaining state law claims. See Slaughter v. Reg’l Acceptance

 Corp., No. 2:20-cv-01888, 2020 WL 7342898, at *3 (S.D. Ohio Dec. 14, 2020) (quoting 28 U.S.C.

 § 1367(a) (“[W]here a federal court has original jurisdiction in a civil action, it also has

 ‘supplemental jurisdiction over all other claims that are so related to claims in the action within

 such original jurisdiction that they form part of the same case or controversy under Article III of

 the United States Constitution.’”); see also Michigan v. Bell Tel. Co. v. MCIMetro Access

 Transmission Servs., Inc., 323 F.3d 348, 355 (6th Cir. 2003) (“A related claim is one arising from

 a common nucleus of facts[.]”).

                   B. Whether Plaintiffs Have Standing to Bring Their Claims

         Defendants also ask the Court to dismiss the Consolidated Complaint because Plaintiffs

 have not pled demand futility and thus lack standing to bring their claims derivatively.




 14
   Having determined that Plaintiffs’ primary theory of causation is sufficient to overcome Defendants’
 motion to dismiss, the Court does not analyze separately whether shareholders’ votes to approve executive
 compensation separately establishes causation under Section 14(a).

                                                    34
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 35 of 44 PAGEID #: 1303




        Under Rule 23.1 of the Federal Rules of Civil Procedure, plaintiffs in a shareholder

 derivative action must either make a pre-suit demand on the board of directors or state the reasons

 with particularity for failing to make such a demand. NECA-IBEW Pension Fund ex rel. Cincinnati

 Bell, Inc. v. Cox, No. 1:11-cv-451, 2011 WL 4383368, at *3 (S.D. Ohio Sept. 20, 2011) (citing

 Fed. R. Civ. P. 23.1(b)(3)). Absent compliance with Rule 23.1, plaintiffs “do not have standing to

 bring suit.” Stanley v. Arnold, No. 1:12-cv-482, 2012 WL 5269147, at *3 (S.D. Ohio Oct. 23,

 2012). The substantive law of the state of incorporation is applied to determine whether the

 plaintiff’s failure to make a demand is excused, even when derivative claims are brought under

 federal law. Id. (citing In re Ferro Corp., 511 F.3d at 617; Komen v. Kemper Fin. Serv., Inc., 500

 U.S. 90, 108−09 (1991)). Here, the state of incorporation is Ohio.

        Like the federal rules, Ohio’s Rules of Civil Procedure require a derivative action

 complaint to “allege with particularity the efforts, if any, made by the plaintiff to obtain the action

 his desires from the directors . . . and the reasons for his failure to obtain the action or for not

 making the effort.” Ohio Civ. R. 23.1. This demand requirement is in place to ensure “that the

 shareholder exhaust his or her intracorporate remedies before going to court with a derivative suit”

 and that corporate management has the “first opportunity to institute the litigation[.]” Carlson v.

 Rabkin, 152 Ohio App.3d 672, 789 N.E.2d 1122, 1128 (Ohio Ct. App. 2003)).

        Even so, Ohio law recognizes an exception to the general demand rule, which permits

 shareholders to proceed with a derivative suit without first making a demand if they can show

 doing so would have been futile. NECA-IBEW Pension Fund, 2011 WL 4383368, at * 3 (citing

 Carlson, 789 N.E.2d at 1128). To plead demand futility, plaintiffs bear the burden of

 demonstrating that “the directors’ minds are closed to argument and that they cannot properly




                                                   35
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 36 of 44 PAGEID #: 1304




 exercise their business judgment in determining whether the suit should be filed.” Carlson, 789

 N.E.2d at 1128.

        Plaintiffs must cite facts that “show the presumed ability of the directors to make unbiased,

 independent business judgments about whether it would be in the corporation’s best interests to

 file the action does not exist in this case.” Ferro, 511 F.3d at 618. Ohio law generally “presumes”

 that directors can exercise independent business judgment about whether to sue some or all of the

 company’s directors, and Ohio courts “have consistently rejected the idea that demand is always

 futile when the directors are targeted as the wrongdoers of the suit the shareholders wish the

 corporation to bring. Stanley, 2012 WL 5269147, at *4 (citing Drage v. Procter & Gamble, 119

 Ohio App. 3d 19, 694 N.E.2d 479, 483 (Ohio Ct. App. 1997)). Accordingly, Ohio courts have

 found demand to be presumptively futile when “the directors are antagonistic, adversely interested

 or involved in the transactions attacked.” Id. (citing Bonacci v. Ohio Highway Express, Inc., No.

 60825, 1992 WL 181682, at *4 (Ohio Ct. App. July 30, 1992). For example:

        A demand may also be excused when all directors are named as wrongdoers and
        defendants in a suit, when there is self-dealing by the directors such that the
        directors gain directly from the challenged transactions, or when there is
        domination of nondefendant directors by the defendant directors.

 Id. (citing Carlson, 789 N.E.2d at 1128). A complaint meets this standard when it alleges

 particularized facts “creating a reasonable doubt that a majority of the board of directors [at the

 time of filing] is capable of making a disinterested and independent decision about whether to

 initiate litigation.” Cardinal Health, 2021 WL 425966, at *13 (applying Ohio law) (citing In re

 Gas Nat. Inc., 2015 WL 3557207, at *6); cf. Stanley, 2012 WL 5269147, at *7 (finding that “broad,

 conclusory allegations . . . against the directors as a group does not excuse demand,” particularly

 when the “vast majority of the current Board . . . is composed of outside Directors”) (internal

 quotations omitted).

                                                 36
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 37 of 44 PAGEID #: 1305




         Applying Ohio law, courts in this Circuit recognize certain categories of facts that

 independently establish futility and excuse demand, two of which are relevant here. First, demand

 is futile when director defendants actively participated in the complained-of wrongdoing. See, e.g.,

 Smith, 969 F. Supp. 2d at 866; Fradkin, 571 F supp. 829 at 840 n.20. Second, demand is also futile

 and excused when a complaint adequately alleges a majority of the board of directors face a

 substantial likelihood of liability because they acted with reckless disregard for the company’s best

 interest by failing to take action to prevent or remedy unlawful conduct. See, e.g., Cardinal Health,

 2021 WL 425966, at *14−15. The Court considers each of these demand excuses in turn.

                     1. Director Defendants’ Active Participation in the Scheme

         At this juncture,15 Plaintiffs “need not actually prove liability of each defendant . . . in order

 to show demand futility. Plaintiff[s’] allegations that all directors are named defendants in this

 action and all defendants actively participated in the alleged wrongdoing is sufficient under Ohio

 law to demonstrate demand futility.” Smith v. Robbins & Myers, Inc., No. 3:12-cv-281, 2012 WL

 5845072, at *3 (S.D. Ohio Nov. 19, 2012); see also NECA-IBEW Pension Fund, 2011 WL

 4383368, at *4 (finding demand futility where “director defendants are the very same people who

 approved the [complained-of corporate wrongdoing], and plaintiff has named all directors who

 approved the compensation as defendants”). Courts distinguish between cases where defendants’

 “status as directors” or their “passive approval of corporate measures” serve as bases for demand

 futility, and those where the Board actively participated in the illicit conduct and ordered the

 dissemination of misleading proxy. Smith, 969 F. Supp. 2d at 865 (excusing demand after plaintiff


 15
    This quote derives from Judge Timothy S. Black’s ruling on the plaintiff’s motion for leave to file a
 second amended complaint. Although the standard of review for a request to amend is not identical to the
 standard for a motion to dismiss, the Court finds the same reasoning applicable to the motion it considers
 here, which precedes discovery. Moreover, Judge Black applied a similar reasoning to defendants’ motion
 to dismiss in the same case the following year. Smith, 969 F. Supp. 2d at 865.

                                                    37
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 38 of 44 PAGEID #: 1306




 alleged “the Board’s active participation in the sales process and Proxy”); see also Fradkin, 571

 F. Supp. at 840 n.20 (finding futility “because all of the directors at the time of the purported

 adoption of the Option Plan and issuance of the proxy statement are defendants; and they are all

 alleged to committed violations of federal and state law for which they are accountable to the

 Company and to the class.”).

         Plaintiffs allege all of FirstEnergy’s Board of Directors as of the filing of this

 suit⸺including Defendants Jones, Anderson, Demetrious, Johnson, Misheff, Mitchell, O’Neil,

 Pappas, Pianalto, Reyes, and Turner⸻ participated actively in the wrongdoing complained of in

 the Consolidated Complaint. Specifically, Plaintiffs assert FirstEnergy director and CEO

 Defendant Jones was involved personally in the bribery scheme, making numerous direct calls to

 Householder as they worked to pass HB6. (Consol. Compl. ¶ 125, ECF No. 75). Directors

 Anderson, Johnson, Misheff, Mitchell, and Reyes served on the Corporate Governance Committee

 throughout the criminal scheme and claimed they “maintain[e] an informed status with respect to

 the Company’s practices relating to corporate political participation, and dues and/or contributions

 to industry groups and trade associations.” (Id. ¶ 239).16 Moreover, Plaintiffs aver that the Director

 Defendants represented to shareholders on multiple occasions that they exercised active and

 informed oversight over the Company’s political and lobbying activities. (Id. ¶¶ 159−61, 177−81,

 199−202). Against this backdrop, Plaintiffs also allege the Directors urged the Company’s


 16
    Defendants argue unconvincingly that Plaintiffs’ allegations about the Director Defendants’ committee
 service are insufficient because “courts repeatedly reject allegations of membership on committees, and
 recitation of the roles of the committees, as establish a likelihood of liability.” Monday v. Meyer, No. 1:10
 CV 1838, 2011 WL 5974664, at *7 (N.D. Ohio Nov. 29, 2011) (“[T]he Complaint would have to show
 some specific report or piece of information that the committee was given which would have tipped them
 off to misconduct.”). Here, however, Plaintiffs do not simply rely on Defendants’ membership on
 committees, nor do they merely recite the committees’ roles. Instead, they quote the Director Defendants
 in their repeated assurances to shareholders that they were informed about and actively overseeing the
 Company’s political spending. Moreover, the Court finds the significant size of the bribes—$61 million—
 to constitute information that would have tipped off the committees to misconduct.

                                                      38
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 39 of 44 PAGEID #: 1307




 shareholders to vote against proposals for improved disclosure, transparency, and accountability

 for FirstEnergy’s lobbying efforts for three consecutive years. (Id. ¶¶ 9, 245−46).17

         Based on the Director Defendants’ contemporaneous representations about their oversight

 and their repeated efforts to encourage shareholders to vote against increased transparency and

 disclosure, it is more than plausible that Director Defendants were directly overseeing Jones’ and

 the Officer Defendants’ illicit political activities and that the five members of the Corporate

 Governance Committee were fully informed of the Company’s “practices relating to corporate

 political participation.” (Id. ¶¶ 23, 25, 26, 27, 31). See Cardinal Health, 2021 WL 425966, at *12

 (“A claim has facial plausibility when the plaintiff pleads factual content that allows the court to

 draw the reasonable inference that the defendant is liable for the misconduct alleged.”). Plaintiffs

 have therefore met their burden to show demand futility.

                                  2. Substantial Likelihood of Liability

         The Consolidated Complaint also presents allegations that constitute a second demand

 excuse, i.e., that a majority of FirstEnergy’s Board faces a substantial likelihood of liability



 17
    Defendants also argue Plaintiffs have not met Rule 23.1 requirements because they have not alleged
 demand futility on a director-by-director basis. (ECF No. 80 at 20 (citing Stanley, 2012 WL 5269147, at
 *7) (“A derivative plaintiff must allege particularized facts as to each director, demonstrating why he or
 she is unable to consider a demand.”)). More recently, though, courts in the Southern District have
 recognized their discretion about when to apply this approach:
         In some cases, courts perform a director-by-director analysis to determine whether a
         majority of the board is alleged to be sufficiently disinterested to consider a litigation
         demand in good faith. However, courts have discretion to perform that analysis in the
         manner best suited to the unique facts of the case at hand. See In re Pfizer Inc. S’holder
         Derivative Litig., 722 F. Supp. 2d 453, 461 (S.D.N.Y. 2010).
 Cardinal Health, 2021 WL 425966, at *14. Under the unique facts of this case, which include the
 Company’s own admissions about having made previously-undisclosed payments forming the basis of the
 Criminal Action, Plaintiffs have alleged the Directors actively paid significant, previously undisclosed
 amounts of money to Generation Now and $4 million to Sam Randazzo, sufficient to survive the motion to
 dismiss. (See Consol. Compl. ¶¶ 85, 130).



                                                    39
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 40 of 44 PAGEID #: 1308




 because they acted with reckless disregard for the Company’s best interests. See, e.g., Cardinal

 Health, 2021 WL 425966, at *14−15 (excusing demand where the complaint “plausibly alleges a

 substantial likelihood of liability” for a majority of the board because they acted with reckless

 disregard for the company’s best interest by failing to take action to comply with a federal statute);

 Stanley, 2012 WL 5269147, at *5 (finding that a board is considered incapable of making a

 disinterested and independent decision “if the particularized allegations of the complaint present a

 substantial likelihood of liability for a majority of the board” rather than “the mere threat of

 personal liability”); Fradkin, 571 F. Supp. at 840 n.20 (excusing pre-suit demand where the

 director defendants were “all alleged to have committed violations of federal and state law for

 which they are accountable to the Company and to the class” and therefore “have irreconcilable

 conflicts of interest.”).

         Directors of an Ohio corporation face personal liability if clear and convincing evidence

 shows they “acted with reckless disregard for the corporation’s best interest.” Cardinal Health,

 2021 WL 425966, at *14 (citing Ohio Rev. Code § 1701.59(E)). In cases like this one, directors

 face liability when they ignore “red flags” that put them on notice of possible misconduct, and they

 recklessly fail to investigate and take affirmative action to protect the interests of the company. Id.

 (citing Forsythe v. ESC Fund Mgmt. Co. (U.S.), Inc., CA. No. 1091-VCL, 2007 WL 2982247, at

 * 7 (Del. Ch. Oct. 9, 2007) (requiring clear and convincing evidence of the directors’ reckless

 disregard)). Red flags that should prompt action by a board of directors include public news reports

 of corporate misconduct. Cardinal Health, 2021 WL 425966, at *9, *17 (identifying Washington

 Post and West Virginia Gazette-Mail articles as among the red flags that helped establish the

 defendants’ substantial likelihood of liability); Shaev, 2017 WL 1735573, at *4, *13 (finding that

 allegations including a Los Angeles Times article support “the Court’s conclusion that the Director



                                                   40
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 41 of 44 PAGEID #: 1309




 Defendants consciously disregarded their fiduciary duties to the company”). Corporate directors

 also “have a duty to exercise oversight and to monitor the corporation’s operational viability, legal

 compliance, and financial performance” under Ohio law. Marchand v. Barnhill, 212 A.3d 805,

 809 (Del. 2019).18

         This Court finds Plaintiffs have alleged by clear and convincing evidence that Defendants’

 “knew or recklessly disregarded reports and ‘red flags’ that FirstEnergy was paying massive

 amounts of illicit bribes to Householder and other public officials to ensure passage of legislation”

 and took affirmative steps to conceal the scheme. (Id. ¶¶ 254, 258, 263, 269, 274, 278, 283, 287,

 292, 296).

         First, Plaintiffs lay out in detail the Company’s imperiled financial situation, which

 intensified in 2016. (See id. ¶¶ 3, 53). Plaintiffs allege that the Director Defendants knew the

 Company’ nuclear power business was suffering more than a billion dollars in losses, which

 threated the financial health of the Company as a whole. (Id. ¶ 53). After Moody’s and Standard

 and Poor’s downgraded FES’s credit rating to “below investment grade” and the Federal Energy

 Regulatory Commission rejected the Company’s application to transfer assets from FES, Plaintiffs

 assert that the Director Defendants knew the Company could no longer deactivate its failing plants,

 restructure its debt, or declare bankruptcy. (Id. ¶ 78).

         Faced with these difficulties, Plaintiffs argue the Company’s “Board and senior

 management decided to seek ‘legislative solutions’ to the Company’s financial woes.” (Id. ¶ 3).

 Plaintiffs cite the Criminal Complaint, which “meticulously catalogued evidence implicating” the

 FirstEnergy Defendants and their involvement in the wrongdoing, “including transcripts of phone


 18
   “Ohio courts routinely look to Delaware case law for guidance in deciding corporate law issues generally,
 and demand futility issues specifically.” Cardinal Health, 2021 WL 425966, at 813 n.7 (citing In re Keithley
 Instruments, Inc. Derivative Litig., 599 F. Supp. 2d 875, 888 n.10 (N.D. Ohio 2008).

                                                     41
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 42 of 44 PAGEID #: 1310




 calls, recorded conversations, call logs, text messages, meeting minutes and bank records.” (Id. ¶

 8). For example, “Householder had over 200 phone calls with FirstEnergy executives between

 2016 and 2019, including at least 84 calls with Defendant Jones.” (Id.). In sum, the Consolidated

 Complaint asserts that the Director Defendants sought to influence state legislators to provide the

 Company with a large bail out, that the Company spent large sums to do so, and that the Company

 enlisted Householder to achieve that end. (Id. ¶¶ 3–8).

        Second, Plaintiffs describe numerous red flags that they say put Defendants on notice that

 careful Board-level oversight was required. These red flags stem back to the respective histories

 of Householder and FirstEnergy: Householder had previously resigned his position as Speaker

 under a well-publicized FBI investigation into allegations of money laundering, kickbacks, and

 campaign contributions in exchange for favorable legislation; and FirstEnergy had previously paid

 illegal bribes to the Executive Director of Ohio’s office of Consumer’s Counsel. (Id. ¶¶ 52, 57).

 Indeed, Plaintiffs allege this latter scandal caused shareholders to scrutinize FirstEnergy’s political

 activities and to submit three proposals that would require the Board to develop greater

 “[a]ccountability and transparency in the use of . . . company funds to influence legislations,

 regulations, and public policy[.]” (Id. ¶¶ 65–67). The Director Defendants opposed all three

 proposals and actively campaigned against them. (Id. ¶¶ 66–69, 74–75).

        Additionally, the Consolidated Complaint cites numerous other public indicators from

 prominent press outlets reflecting potential impropriety in the relationship between Householder

 and FirstEnergy. For example, in March 2017, the Dayton Daily News called attention to

 Householder’s reputation as the “prince of darkness” and related it to his trip aboard FirstEnergy’s

 corporate jet to former President Trump’s inauguration. (Id. ¶¶ 12, 57). In April 2018, a

 Cleveland.com article shined light on the “big checks” FirstEnergy was giving to Householder and



                                                   42
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 43 of 44 PAGEID #: 1311




 noted concern about “why FirstEnergy decided to put so much money behind Team Householder.”

 (Id. ¶¶ 12, 97). The Columbus Dispatch, the Cincinnati Enquirer, WKSU Ohio, and others reported

 similar findings and concerns (Id. ¶¶ 97, 105, 113).

         Plaintiffs also cite several public media reports that followed the passage of HB6,

 discussing the “unprecedented” and “mysteriously funded” campaign of advertisements in support

 of the bill. (Id. ¶ 105). In particular, a July 2019 Columbus Dispatch article quoted an expert who

 noted, even just based on publicly disclosed payments, “the amount of money that FirstEnergy

 Solutions . . . and allied dark-money groups spent to buy support from legislators for their coal and

 nuclear bailout has been astronomical.” (Id.).

         Taken as true, these allegations together support this Court’s inference that a majority of

 the Director Defendants recklessly disregarded their duties to the Company and allowed the

 criminal scheme to continue unchecked. Shaev, 2017 WL 1735573, at *13 (“While any of these

 red flags might appear relatively insignificant to a large company . . . when viewed in isolation,

 when viewed collectively they support an inference that a majority of the Director Defendants

 consciously disregarded their fiduciary duties despite knowledge regarding widespread illegal []

 activities, and therefore, that there is a substantial likelihood of director oversight liability.”);

 Delaware Cnty. Emps. Ret. Fund. v. Sanchez, 124 A.3d 1017, 1019 (Del. 2015) (“[I]t is important

 that the trial court consider all the particularized facts pled by the plaintiffs . . . in their totality and

 not in insolation from each other, and draw all reasonable inferences from the totality of those facts

 in favor of the plaintiffs.”). Accordingly, the Court finds that Plaintiffs have alleged Defendants

 face a substantial likelihood of liability, and that demand was therefore excused.

         Because Plaintiffs have sufficiently pled demand futility, the Court finds that Plaintiffs

 have standing.



                                                      43
Case: 2:20-cv-04813-ALM-KAJ Doc #: 93 Filed: 05/11/21 Page: 44 of 44 PAGEID #: 1312




                                   IV. CONCLUSION

       For the reasons articulated above, the Court DENIES Defendants’ Motion to Dismiss.

 (ECF No. 79).

       IT IS SO ORDERED.

                                                                   ___
                                         ALGENON L. MARBLEY
                                         CHIEF UNITED STATES DISTRICT JUDGE

 DATED: May 11, 2021




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